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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                            iMnPEN^COURT.
                         EASTERN DISTRICT OF VIRGINIA

                                  Alexandria Division                      JJM242i5
UNITED STATES OF AMERICA


             V.                                  No. l:15cr Hg"
HAROLD BAILEY GALLISON II,                        Count One:
    ayTi/a"BJ. GALLISON,"                               Conspiracy to Commit Wire Fraud
    a/k/a "Bart Williams,"                                 18U.S.C. §1349
      (Counts 1-5)
                                                  Count Two:
MICHAEL J. RANDLES,                                     Securities Fraud
      (Count 5)                                            15U.S.C.§§78j(b)&78ff

ANN MARIE HISKEY,                                 Count Three:
      (Counts 1-5)                                      Conspiracy to Commit Wire Fraud
                                                           18U.S.C. §1349
ROGER G. COLEMAN,
      (Count 5)                                   Count Four:
                                                        Securities Fraud
CARLH.KRUSE, SR.,                                          15U.S.C.§§78j(b)&78ff
      (Counts 1 & 2)
                                                  Count Five:
CARL H. KRUSE, JR.,                                     Money Laundering Conspiracy
      (Counts 1 & 2)                                        18 U.S.C.§ 1956(h)

FRANK J.ZANGARA,                                  Forfeiture Notice
      (Counts 3 & 4)

MARK S. DRESNER, and
    (Counts 3 & 4)

CHARLES S. MOELLER,
    (Counts 3 & 4)

      Defendants.


                                    INDICTMENT


                        June 2015 Term - At Alexandria. Virginia
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THE GRAND JURY CHARGES THAT:

       At all times relevant to this Indictment:

                                     General Allegations


                               The Defendants and Related Entities

       1.      Defendant Harold Bailey GALLISONII, a/k/a "B.J. Gallison," a/k/a "Bart

Williams," was a resident of California. GALLISON controlled and operated Sandias

Azucaradas, also known at various times as Moneyline Brokers and Trinity Asset Services

(collectively, "Moneyline"). Moneyline was an offshore brokerage company located in San

Jose, Costa Rica, which was founded in or around 2002. The purpose of Moneyline was to trade

securities, primarily microcap or "penny stocks,"through multiple nominee brokerage accounts

in the United States, often in connection with market manipulation or "pump-and-dump"

securities fraud schemes, and to launderthe proceeds of these schemes by transferring the

proceeds from the nominee brokerage accounts to and through Moneyline nominee bank

accounts in the United States and overseas.


       2.      Defendant Michael J. HANDLES was a Canadian citizen who was a resident of

Costa Rica. RANDLES's role was, among other things, to direct the operations of Moneyline

from Costa Rica when GALLISON was in California, and to cause the opening of Moneyline

brokerage and bank accounts that were used to facilitate pump-and-dump schemes that ran

through Moneyline. The accounts were used in part to conceal the true source, ownership and

control of the shares and the proceeds of the liquidation of the shares.

       3.      Defendant Ann Marie HISKEY was a resident of Costa Rica. HISKEY was a

trader and customer service representative at Moneyline whose role was, among other things, to
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             engage in trading stocks through Moneyline's accounts, to assist in finding promoters for the

             stocks being traded, and to facihtate the transfer of the proceeds of the trades.

                       4.    Defendant Roger G. COLEMAN was a resident of Nevada. COLEMAN's role

             was, among otherthings, to cause the opening of, and be the signatory on, Moneyline brokerage

             and bank accounts that were used to facilitate pump-and-dump schemes that ran through

             Moneyline. COLEMAN established such accounts in the Eastern District of Virginia and

             elsewhere, including a brokerage account in Merrifield, Virginia, that was used to liquidate

             shares of Bryn Resources, Inc. ("Bryn Resources"). The accounts were used in partto conceal

             the true source, ownership and control of the shares and the proceeds of the liquidation of the

             shares,


                       5.    Defendant Carl H. KRUSE, JR. was a resident of Florida. KRUSE, JR., and his

             father, Carl H. KRUSE, SR., controlledalmost all of the shares of Warrior Girl Corporation

             ("Warrior Girl").

                       6.    Defendant Carl H. KRUSE, SR., was a resident of Florida. KRUSE, SR., was an

             officer of Warrior Girl and with his son, KRUSE, JR. controlled almost all of the shares of

             Warrior Girl.


                       7.    Defendant Frank J. ZANGARA was a resident of New York. ZANGARA

             controlled almost all of the sharesof Everock Incorporated ("Everock") with defendant Charles

             S. MOELLER. ZANGARA was also the beneficial owner of BHI Group, Glenwood Marketing

             and UDF Consulting.

                       8.    Defendant Charles S. MOELLER was a resident of New York. MOELLER

             served as the President of Everock and controlled almost all of the Everock free trading shares


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with defendant ZANGARA. MOELLER also operated a website that promoted microcap stocks,

including Everock, and purported "to provide a balanced view of many promising small-cap

companies that would otherwisefall under the radar of the typical Wall Street investor."

       9.       Defendant Mark S. DRESNER was a resident of New York. DRESNER

facilitated the drafting of press releases touting Everock's purported business activities that were

issued in connection with the promotion of Everock stock. DRESNER was the owner and

operator of Digital Edge Marketing, a company that maintained an account at Moneyline that

held Everock shares and was used to transfer shares to promoters in connection with the

promotion of Everock.

                                      Other Co-Conspirators

       10.      Co-Conspirator 1 ("CCl") was a resident of California. CCl was a "client" of

Moneyline who was recruited by GALLISON to participate in the promotion of the shares of

Warrior Girl.

        11.     Co-Conspirator 2 ("CC2") was a resident of California. CC2 served as a

Secretary of Everock and was involved in facilitating the issuance of press releases touting

Everock's purported business activities in connectionwith the promotion of Everock stock. CC2

operated a company called Core Business One that purportedto be an investor that provided

financing for Everock.

        12.     Co-Conspirator 3 ("CC3") was a resident ofNew Jersey. CC3 was a client of

Moneyline who acted as a promoter for Everock.

                                  The Over-The-Counter Market


        13.     The Over-the-Counter ("OTC") securities market was the equity market for

securities not listed on a United States stock exchange, such as the New York Stock Exchange,

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or theNASDAQ Stock Market. In general, securities are usually traded in the OTC market

because the company is unable to meet the requirements to be listed on one of theUnited States

stock exchanges. OTC securities are traded by broker-dealers who negotiate directly with one

another over computer networks and by phone.

       14.     The OTC marketwas linked by computer networks, and quotations for OTC

securities may be quoted on listing services such as OTC Markets Group, Inc. ("OTC Markets

Group"), formerly knovm as the Pink Sheets, which was an inter-dealer electronic quotation and

trading system in the OTC securities market.

        15.    "Microcap" or "penny" stocks referred to stocks of publicly traded U.S.

companies which have a low market capitalization. Microcap stocks were traded on the OTC

market. Microcap stocks were often subject to price manipulation because they were thinly

traded and subject to less regulatory scrutiny than stocks thattraded on exchanges like theNew

York Stock Exchange. Additionally, large blocks of microcap stock were often controlled by a

smallgroup of individuals, which enabled those in the group to control or orchestrate

manipulative trading in those stocks.

                                    "Pump-and-Dump " Schemes

        16.    Generally, a "pump-and-dump" scheme involved the artificial manipulation of the

price and/or trading volume of a particular stock in order to sell that stock at an artificially

inflated price. As partof a pump-and-dump scheme, an individual or group of individuals

obtained control overa substantial portion of the free trading shares of a company. Free trading

shares were shares of stock that could be traded without restriction. One of the first steps in

executing a pump-and-dump scheme involved the co-conspirators gaining control over all or the



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vast majority ofthe free trading shares in a company to control the market for the stock free from

outside, market influences.

       17.     A pump-and-dump scheme also involved "parking" shares by depositing or

transferring them into different accounts, including accoimts in the names of nominees, to

conceal the ownership, control and/or manipulative trading of the stock.

       18.     A "nominee" was someone who owned an asset merely on paper, in order to

disguise the true owner of the property. Nominees were used in connection with the formation

of shell companies. Bank and brokerage accounts opened in thename of a shell company with a

nominee were often referred to as "nominee accounts." Such accounts were then used in a

pump-and-dump scheme by allowing the co-conspirators to give the appearance of an active

market for a stock, when in fact the trades were being conductedamong nominees controlledby

co-conspirators. Nominee bank accounts were also often used to conceal thedissipation of the

proceeds of the fraud.

        19.    A "shell company" was a company which served as a vehicle for business

transactions, such as opening bank and brokerage accounts, without itselfhaving any significant

assets or operations.

       20.     Wash trades were purchases and sales of securities that matched each other in

price, volume and time of execution, and involved no change in beneficial ownership. For

example, a wash trade took place when Investor A bought 100 shares at $5.00 per share of

Company A through Broker A while simultaneously selling 100 shares at $5.00 per share of

Company A through Broker B. Wash trades were used to create theappearance thatthestock

priceand volume rose as a result of genuine market demand for the securities.


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       21.     The "pump" involved artificially inflating a company's stock price and/or volume

through various means that might include engaging in coordinated trading of the stock - usually

by co-conspirators controlling boththe buying and selling activity of the stock- to create the

appearance of a more active market for that stock. The pump might also involve disseminating

false and misleading promotional materials- press releases purportedlyfrom the companyor

advertisements toutingthe prospects of a company's stock- to encourage innocent investors to

purchase the stock thus increasing sales volume.

       22.     After pumping up the stock in the manner described above, the stock was

"dumped," meaning large quantities of the shares owned and controlled by the co-conspirators

were liquidated by selling to unsuspecting investors.

                                     The Scheme To Defraud

       23.     In or aboutand between September 2008 and March 2014, the defendants Harold

Bailey GALLISON, Ann MarieHISKEY, Carl KRUSE, JR., Carl KRUSE, SR., Frank

ZANGARA, Charles MOELLER, Mark DRESNER, together with others, devised and engaged

in a scheme whereby they agreed to defraud investors and potential investors in various United

States publicly traded-companies, including Warrior Girl and Everock. To further the scheme,

defendants GALLISON, HISKEY, KRUSE JR., KRUSE SR., ZANGARA, MOELLER,

DRESNER, together with others, fraudulently concealed the true ownership of various United

States publicly traded companies, and engineered artificial price movements and tradingvolume

in the stocks of the various U.S. publicly traded companies, including Warrior Girl and Everock.

Defendants GALLISON, HISKEY, COLEMAN and RANDLES agreed to launder the proceeds

of the securities fraud, including the proceeds from the sales of shares of Warrior Girl, Everock

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and Bryn Resources, by moving money into and out ofthe United States through a series of

nominee bank accounts.


       24.     GALLISON, COLEMAN, RANDLES and others caused the creationof multiple

United States and CostaRican shell companies with nominee directors underthe Moneyline

umbrella. Some of these entities included Bastille Advisors, Inc. ("Bastille"), a Nevada

company; Sandias Azucaradas ("Sandias"), a Costa Rican company; Graytrader.com, a

Panamanian company; and Vanilla Sky, Inc. ("Vanilla Sky"), a Costa Rican company

(collectively, the "Moneyline Entities").

       25.     GALLISON, COLEMAN, RANDLES and others used the Moneyline Entities to

openbrokerage accounts withmultiple retail securities brokerage firms in the United States.

They usedthe Moneyline Entities to open bank accounts in the United States and offshore.

       26.     GALLISON, HISKEY and others then directed clients of Moneyline to transfer

shares of microcap companies, suchas Warrior Girl, Everock and BrynResources, into various

brokerage accounts in the names of the Moneyline Entities. Doing so hid the true ownership and

control over the shares, as it appeared to the brokerage firm andregulators thatthe true owners of

the shares werethe Moneyline Entities, as opposed to the clients of Moneyline. Moneyline also

internally allocated and distributedthe shares that were deposited in the brokerageaccountsto

the clients of Moneyline, such as KRUSE JR., KRUSE SR., ZANGARA, DRESNER, and

others, as well as transferred the shares between its clients, including stock promoters. By

transferring and allocating the shares internally, GALLISON, HISKEY and others concealed the

true ownership and control of the shares.

       27.     GALLISON, HISKEY and others then engaged in manipulative trading of, and/or
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liquidated, the securities in the Moneyline Entity accounts. As the trading generated proceeds,

they caused the proceeds of the fraud to be comingled with the proceeds of other stocksalesthat

took place in the accounts.

        28.    Once shares of companies such as Warrior Girl, Everock and Bryn Resources

were liquidated and proceeds were generated in the brokerage accounts, GALLISON, HISKEY,

COLEMAN, RANDLES and others then caused the transfer of the comingled trading proceeds

to offshore accounts that they controlled. Sometimes, GALLISON, HISKEY, COLEMAN,

RANDLES and otherscaused the proceeds to be transferred first to a bank account in the United

States then offshore, while at other times they transferred the proceeds directly offshore.

        29.    From the offshore accounts, GALLISON, HISKEY, RANDLES and others

caused the further transfer of the proceeds as directed by their clients, including KRUSE JR.,

ZANGARA, MOELLER and DRESNER.

                                            Moneyline

        30.    Using Moneyline, GALLISON, RANDLES, HISKEY, COLEMAN and others

assisted their clients with the facilitation of fraudulent stock deals and money laundering, and

deliberately sought to circumvent U.S. securities laws and evade criminal and regulatory

authorities.


        31.    For example, on or about June 14,2010, in a recorded call, KRUSE JR. expressed

concern that, "[t]he stock, okay, Anna [HISKEY],just so I understand, the stock, though, legally

is not in our name then anymore once we send it to you." HISKEY then explained to KRUSE

JR. the process for depositing shares with Moneyline as well as the fact that the organization was


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structured to conceal client trading activity and movement of the proceeds of the stock

liquidations:

       Right. Those 8.3 million shares [of Warrior Girl] are in Vanilla Sky's name right
       now. And that's why people like working with the offshore firm because, at the
       same time it, it is a little risky, let's say, for, for you, but everything's done
       through us, kind of protecting the client, and, there's not too much access to see
       what is happening and what kind of funds you're producing, and that's why
       people like using the offshore firm, our clients like using the offshore firm. But
       those 8.3 million shares, for instance, Carl [KRUSE JR.], is in Vanilla Sky name,
       it is in our name. If you wanted those shares back right now, what would happen
       is they'd get sent back to the [TransferAgent] and we'd get them put back in
       whatever name that you'd want the shares put in, so ... [y]ou vsdll have one
       hundred percent control of the stock, so, it, it's just, it's in our name, which is
       beneficial in, in, in a, in a lot, in a big way, too, because all the stock is getting
       sold in our name, so...

        32.     On or about January 1, 2010, in a recorded call with HISKEY, GALLISON

acknowledged his understanding that money laundering was illegal. In regard to a client wiring

in money and requesting it be wired right backout to a third party, GALLISON stated, "Why

couldn't [the client] just wire forty-nine grand from wherever he had the money to, uh, to this

person directly, youunderstand? Because [the client] doesn't want it to show that he wired this

person $49,000, okay?" GALLISON acknowledged that transactions concealing the true

ownership of money were"downright illegal," and that Moneyline shouldn'tbe laundering

funds, but agreed to the request "because [theclient] ha[d] a history of doing stockbusiness"

with Moneyline.

        33.     On or about June 8, 2010, in a recorded call GALLISON explained to

COLEMAN that Moneyline's proprietary internal chat system, "GCC," was the "highest

possible level of security you can get" and why it was preferable to an internet service provider.

GALLISON stated, "Now, the advantages to this is, well, your Yahoo typically is set, unless you
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clear thehistory and change it, it's setto, uh, keep 90-day history, okay?" GALLISON noted

that while an internet service provider did not retain chats for an extended period of time, "if the

Fed came in with a search warrant, they'd take your computer and it'd have your last ninety

days' worth of Yahoo messengers and Skype chats." GALLISON further explained that GCC

was kepton the users' desktop, and was "a throwaway program" on which they could have

private conversations and speak freely.

       34.     Similarly, in a recorded call on or about May 18,2010, GALLISON directed

HANDLES to clear his chat history for both Yahooand Skype. GALLISON also noted that

Moneyline maintained a private internal telephone system that did not go through a U.S. server

on which he and HANDLES could hold "private conversation[s] that the Fed cannot get a

wiretap on."

        35.    Moreover, on or about June 7,2010, GALLISON conferred with HANDLES

about the possibility of a regulatory or criminal investigation into the activities of Moneyline.

When HANDLES expressed concern about traveling andthe possibility of being "hauled off of

a plane, GALLISON asserted that the SEC didnot know what HANDLES had been doing and

noted it was "only for recidivist people that theyturn over to the Department of Justice as a

referral, which not always, probably less thanhalf the timethe DOJpicksup, okay, anddecides

to go ahead and prosecute as, as a criminal matter." GALLISON reassured HANDLES, stating,

"the whole issue with us is that, uh, uh, that uh, it's tough to, tough for anyone to figure out what

we really, what we're doing in the first place."




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                          The Warrior Girl "Pump-and-Dump " Scheme

       36.     Warrior Girl was incorporated in 2002 as a Nevada corporation. Warrior Girl

stockwasquoted on the OTC Markets Group underthe tickersymbol "WRGL" and was

publicly traded. Warrior Girl initially stated its business purpose was to "manufacture and

distribute women's and girl's [sic] clothing and apparel." Thereafter, Warrior Girl's stated

business purpose underwent several iterations, changing to "an investment company," then to a

technology company dedicated to "effective energy independence for the United States," and

then to an oil extraction firm. In 2010, Warrior Girl issued a series of press releases stating that

it was in the on-line education business and "focused on providing a quality education both

online and in the classroom." From 2004 through 2010, Warrior Girl filed annual financial

statements with the OTC Markets Group. For each yearthrough 2010, Warrior Girl reported

both its annual revenue and expenses to be zero.

       37.     KRUSE JR. and KRUSE SR. concealed, through a series of nominee brokerage

accounts and nominee bank accounts, that they controlled virtually all of the free tradingshares

of Warrior Girl. Nominee-1, a citizen of Denmark who resided in France, was listed as the

account ownerfor accounts holding Warrior Girl stock in the name of Fry Canyon Corporation

("Fry Canyon"), L.F. Technology Group, LLC ("L.F. Technology"), Starburst Innovations, LLC

("Starburst"), and Tachion Projects, Inc. ("Tachion") (collectively, the "Kruse Accounts"). In

fact, however. Fry Canyon, L.F. Technology, Starburst, and Tachionwere controlled by KRUSE

JR. and were used as nominee entities that traded shares of Warrior Girl.

        38.     Between in or around January and June 2009, trading in the Kruse Accounts


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accounted for the majority of market activity in Warrior Girl stock. The Kruse Accounts were

used to engage in a pattern of coordinated and pre-arranged trades to affecttrading volume and

price.

         39.    In or around June 2009, a promotional campaignin the Eastern District of

Virginia and elsewhere begantouting Warrior Girl's purported business prospects. In a recorded

conversation, KRUSE JR. told HISKEY that the promotion was orchestrated by him and

KRUSE SR.

         40.    In early 2010, BCRUSE JR. and KRUSE SR., in order to conceal their ownership

and control of their Warrior Girl shares, transferred approximately 14.9 million shares of Warrior

Girl from the Kruse Accounts into brokerage accounts in the names of Moneyline Entities. This

included the transfer of several million shares that was initiated by a letter from KRUSE JR. to a

brokerage firm that maintained one of the Kruse Accounts that was located in the Eastern

District of Virginia.

         41.    GALLISON and HISKEY agreed with BCRUSE JR. and KRUSE SR. to enlist

other co-conspirators that were willing to engage in promotional activities and secret,

coordinated trading in Warrior Girl shares in an effort to artificially inflate the price and volume

of the shares, so that KRUSE JR. and KRUSE SR. could later sell their shares to unsuspecting

investors at artificially inflated prices.

         42.    In or about Jime 2010, KRUSE JR. and KRUSE SR. expressed their

dissatisfaction with an earlier promotional campaign with defendant HISKEY. Thereafter,

HISKEY and GALLISON openly discussed the fraudulent nature of the Warrior Girl stock

manipulation, and the need for a promotional campaign. For example, in order to create the

desired market volume, GALLISON told HISKEY that "[w]hat they really need, what he needs

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to do, is, you know, does he, it's just a shell, it's a declared fucking shell. Are they going to put

something there, announce a letter of intent for a property, canthey do some news, or, or is it

just, you know, oh, let's trade $8 million worth of stock on a shell with absolutely no news,

okay?" GALLISON told HISKEY thathe had a group of promoters in mind, andthat"the 8.5

million [shares] they have with us [Moneyline] will probably generate [ICRUSE JR.], you know,

anywhere from probably about 30 million in market, you know, volume, anywhere from 25 to 35

million in market volume right now, and [KRUSE JR.] needs to have a shitload of stock

somewhere else ready to sell."

        43.    In or around June 2010, GALLISON and HISKEY enlisted CCl, among others,

to assist KRUSE JR. and KRUSE SR.'s efforts to create an artificial market for Warrior Girl

shares by engaging in a promotional campaign, including drafting and disseminating press

releases, and coordinated trading of Warrior Girl shares. To the investing public, thesetrades

would have given the false appearance thatthere was an increasing market demand for Warrior

Girl shares.


        44.     In or around June 2010, KRUSE JR., HISKEY and CCl discussed the need to

have multiple press releases ready to disseminate to promote the stock, which theco-conspirators

needed to review in advance. For example, in or around June 2010, in response to HISKEY's

questions about the promotional campaign, KRUSE JR. told HISKEY that, "It looks like I have

three press releases here. We can come up with, you know, anotherten, just to keep the pot, you

know, the boiling kind of thing." KRUSE JR. and HISKEY also discussed howthe Warrior Girl

stockprice would be manipulated, and howthey would coordinate the liquidation of Warrior

Girl shares through both the Moneyline nominee accounts and the Kruse Accounts.


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       45.     In or around July 2010, KRUSE JR., KRUSE SR., GALLISON, HISKEY, CCl,

and otherscausedthe issuance and dissemination nationally, including in the EasternDistrictof

Virginia and elsewhere, of a Warrior Girl press release forecasting false and misleading revenue

projections.

       46.     After fraudulently inflating the price and volume of Warrior Girl stock, KRUSE

JR., KRUSE SR., GALLISON and HISKEY, sold their shares of Warrior Girl to unsuspecting

victim investors in the Eastern District of Virginia and elsewhere through the Kruse Accounts

and nominee Moneyline accounts, thereby generating substantial illegal proceeds.

       47.     Afterliquidating the Warrior Girl shares from the Moneyline accounts, KRUSE

JR., GALLISON, HISKEY, HANDLES and others transferred the proceeds from nominee

brokerage accounts in the United States, to bank accounts located overseas, and back to bank

accounts in the United States in order to hide the source, ownership and control of the fraudulent

proceeds.

       48.     As a result of the scheme, between in or around January 2009 and in or around

March 2014, the co-conspirators liquidated approximately 61 million shares of Warrior Girl,

generating proceeds of approximately $2.9 million.

                            The Everock "Pump-and-Dump " Scheme

       49.     Everock was a Nevada corporationthat purported to manufacture and market

gourmet, kosher, and gluten-free condiments in the United States under the Nature's Peakbrand

name. Everock shares were publicly traded over the counter and quoted on the OTC Markets

Group under the ticker symbol "EVRN."

        50.     In order to effectuate the Everock pump-and-dump scheme, in or around August

2008, ZANGARA and MOELLER, together with CC3 and others known and unknown to the

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Grand Jury, facilitated the merger of a shell company they controlled, Everock, withNature's

Peak, a privately held operating company. ZANGARA, MOELLER, DRESNER, CC2, and

others represented to the CEO of then privately held Nature's Peak that a merger would enable

Nature's Peak to raise capital and grow its brand. In reality, ZANGARA, MOELLER,

DRESNER, CC3 and others utilized the merger to obtain nearly all of Everock's shares, which

they could then distribute to promoters and sell as part of the Everock pump-and-dump scheme.

       51.     Beginningin or around March 2009, defendants ZANGARA and MOELLER

initiated the transfer of millions of their Everock shares into Moneyline-controlled nominee

brokerage accounts.

       52.     ZANGARA and DRESNER then caused the distribution of the Everock shares

withinMoneyline accounts to promoters who both toutedEverock and made purchases of

Everock shares in the open market to increase the volume of trading in Everock stock. The

promotional materials included website postings, email blasts, and online videos, which were

disseminated in the Eastern District of Virginia and elsewhere, to create the appearance that

Everock had significant business and growth prospects, and to generate investor interest so that,

among otherthings, the investing public would take interest in Everock and purchase the shares

that ZANGARA and MOELLER controlled.

       53.      In order to further the pump-and-dump scheme, ZANGARA and MOELLER

also caused the submission of false filings with OTC Markets Group, which were then available

to the investing public in the EasternDistrictof Virginia and elsewhere. In or around October

2009, MOELLER and ZANGARA caused the submission of an Annual Update Disclosure

Statement with the OTC Markets Group, falsely stating that MOELLER had "effectively"

returned 270 million of the 300 million shares he controlled to the company. In fact, MOELLER

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did not return anyof the shares to the company but instead continued to transfer millions of

shares to various promoters while also liquidating tens of millions of shares through

ZANGARA's corporate accounts and through various Moneyline accounts. The Annual Update

Disclosure Statement also falsely indicatedthat Everock "does not retain a promoter," despite

MOELLER and ZANGARA controlling the majorityof the shares of Everock and payingfor the

promotions.

       54.     Beginning in or around November 2009, ZANGARA and MOELLER caused the

issuance and dissemination nationally, including in the Eastern District of Virginia, of false press

releases that touted purported investments in Everock and Nature's Peak by CC2. In fact, the

purported investments were actually proceeds generated through Moneyline that wereprovided

by DRESNER, who unlike CC2 was not publicly affiliated v^th the company.

       55.     Between in or around March 2010 and April 2010, ZANGARA and MOELLER

caused the issuance and dissemination nationally, including in the Eastern District of Virginia, of

multiple additional press releases that touted Everock's purported business prospects, while

continuing to liquidate millions of sharesof Everock. In or around April 2010, MOELLER,

throughhis promoterentity Spectrum Research Group ("Spectrum"), issueda press release

falsely statingthat Spectrum would institute"full independent coverage" of Everock. The

announcement included a misleading disclaimerthat the company"may" have a beneficial

interest in Everock when, in fact, MOELLER, ZANGARA and their co-conspirators controlled

the vast majority of Everock shares that were available for sale.

       56.     Throughout the surrmier of 2010, ZANGARA and MOELLER continued to

liquidate tens of millions of Everock shares out of Moneyline accounts. ZANGARA,

MOELLER, HISKEY, GALLISON and others, coordinated those sales. In response to tens of

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millions of shares being transferredto Moneyline, GALLISON told a co-conspirator that he

expected the Everock share price would run up on volume and that Moneyline would be able to

liquidate all of the Everock shares once the promotions started, as the co-conspirators were

"loading up for bear." Millions of the Everock shares transferredto Moneyline would then be

transferredto promoters who were engaged to promote Everock. During the summer of 2010,

ZANGARA, MOELLER, DRESNER, CC2, and others continued to cause the issuance and

dissemination nationally, including in the Eastern District of Virginia, of multiple press releases

touting Everock's business operations and opportunities in order to generate investor interest in

the company.

        57.     In connection with the summer-2010 promotional campaigns, GALLISON,

HISKEY, ZANGARA and others discussed repeatedly the need to coordinate the sale of Everock

shares with the press releases and promotional activities, and to secretly coordinate the

liquidation of the Everock shares through multiple brokerage accounts. In or around mid-July

2010, GALLISON told HISKEY that "We've got 140 million shares and the clients want to sell

it at the highest price possible but they want to sell every share..,, sell it all, but don't want to

hurt the market.... that sums it up. Meanwhile, we will be listening to all this babble and be

shoveling it out with a pitchfork and a dumpster into the marketplace, because otherwise we

would not sell any... I will have [the brokerage firm where Moneyline maintainedone of its

accounts] relentlessly serving up stock to fulfill the appetite of the market place."

        58.     As the press releases were being disseminated simultaneouslywith the

promotional campaigns they had initiated and funded, ZANGARA, DRESNER, GALLISON and

HISKEY sold Everock shares to unsuspecting investors, including in the Eastern District of

Virginia, reaping substantial illegal proceeds in the process.

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       59.     After selling the shares, GALLISON, HISKEY, ZANGARA, DRESNER,

RANDLES, COLEMAN and others caused the proceeds of the scheme to be wired from

brokerage accounts in the United States into Moneyline Entity offshore accounts, thenback into

different accounts in the United States in order to hide the source, ownership and control of the

illegal proceeds.

       60.     As a result of the scheme, between in or around September 2008 and in or around

September 2010, the co-conspirators liquidated approximately 382 millionshares of Everock,

generating proceeds of approximately $3.6 million.

                         The Biyn Resources Money Laundering Scheme

       61.     Brjoi Resources was a Colorado company with purported headquarters in Ontario,

Canada, that purported to engage in mining and exploration of precious metals in Canada. Bryn

Resources shares were publicly traded over the counter and quoted on the OTC Markets Group

under the ticker symbol "BRYN."

        62.    In or around November2008, COLEMAN opened a brokerage account in the

name of Bastille Advisors with a brokerage firm located in Merrifield, Virginia, within the

Eastern District of Virginia.

        63.     Beginning in or around November 2009, a group of Moneyline's clients, who held

a controlling interest in Bryn Resources deposited their shares in Moneyline controlled accounts,

with some of those shares being deposited into the Bastille Advisors account in the Eastern

District of Virginia.

        64.     In or around November and December 2009, a promotional campaign touting

Bryn Resources took place, which included the issuance of press releases and the toutingof Bryn

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Resources' purported assets andoperations on websites. During this same time period,

Moneyline sold over 3.5 million shares of Bryn Resources, generating proceeds of approximately

$756,000.

       65.    The sale of BrynResources shares from Moneyline accounts continued until

approximately August 2010, when the majority of the shares in the Moneyline accounts had been

liquidated.

       66.    Following the liquidation of shares, COLEMAN caused the transfer of the

proceeds from Moneyline accounts in the United Statesto Moneyline offshore accounts.

       67.    On or about June 30,2010, while still holding Bryn Resources shares in

Moneyline accounts, GALLISON discussed the fraudulent promotion of Bryn Resources, as well

as the fact that a client of Moneyline who hadbeeninvolved with the Bryn Resources promotion

had been charged by the Securities andExchange Commission (the "SEC") for a number of

other pump-and-dump schemes. During the discussion, GALLISON explained that"[e]veryone

acknowledges thatthey're just a pump-and-dump outfit. Wildly successftil. They didthe BRYN

deal.... Their outrageous claims by theirin-house newsletter writers were just bogus bullshit."

When GALLISON mentioned that the client's money had been frozen as part of the SEC

charges, HANDLES responded, "I bet nowthey're wishing they would have left some money

with us."




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                                            Count One


              Conspiracyto Commit Wire Fraud - Warrior Girl (18 U.S. C. § 1349)

THE GRAND JURY FURTHER CHARGES THAT:

       68.     Paragraphs 1 through 3, 5 through 6,10, and 13 through 35 of the Indictment are

incorporated here by reference.

       69.     Beginning on a date unknown to the United States, but at leastas early as in or

about January 2009, and continuingthrough at least in or about March 2014, in the Eastern

District of Virginia and elsewhere, defendants GALLISON, HISKEY, KRUSE JR., and KRUSE

SR., together with their co-conspirators, andothers known and unknown to the Grand Jury, did

knowingly and willfully combine, conspire, confederate and agree with each otherand others

known and unknown to the Grand Jury to commit certain offenses against the United States,

namely, wire fraud, that is, having devised a scheme andartifice to defraud and obtain money

andproperty from investors in Warrior Girl's common stock by means of materially false and

fraudulent pretenses, representations, and promises, to knowingly and willfully use interstate

wires for the purpose of executing suchscheme and artifice, in violation of Title 18, United

States Code, Section 1343.

                                     Purpose ofthe Conspiracy

       70.     Thepurpose of the conspiracy wasto unjustly enrich the defendants and theirco-

conspirators, through the saleof securities to the general investing public, by artificially inflating

the marketprices of, volume of, and demand for the commonstock of Warrior Girl.

                               Manner and Means ofthe Conspiracy

        71.    Paragraphs 36 through 48 of the Indictment are incorporated here by reference as

the manner and means of the conspiracy.

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(In violation of Title 18, United States Code, Section 1349.)

                                          Count Two


          Securities Fraud- Warrior Girl (15 U.S.C. §§ 78j (b) & 78ff; 18 U.S.C. § 2)

THE GRAND JURY FURTHER CHARGES THAT:

       72.     Paragraphs 1 through 3, 5 through 6,10, and 13 through 48 of the Indictment are

incorporated here by reference.

       73.     Beginningon a date unknown to the United States, but at least as early as in or

about January 2009, and continuingthrough at least in or about March 2014, in the Eastern

District of Virginia and elsewhere, the defendants GALLISON, HISKEY, KRUSE JR., and

KRUSE SR., togetherwith their co-conspirators, and others known and unknown to the Grand

Jury, did knowingly and willfully use and employ, attempt to use and employ, and aid and abet

in the use and employment of one or more manipulative and deceptive devices and contrivances,

contrary to Rule lOb-5 of the Rules and Regulations of the United States Securities and

Exchange Commission, Title 17,Codeof Federal Regulations, Section 240.10b-5, by: (a)

employing one or more devices, schemes and artifices to defraud; (b) makingone or more untrue

statementsof material fact and omitting to state one or more material facts necessary in order to

make the statements made, in the light of the circumstances in which they were made, not

misleading; and (c) engaging in oneor more acts, practices andcourses of business which would

operate as a fraud and deceit uponone or more investors or potential investors in Warrior Girl, in

coimection with the purchases and sales of investments in WarriorGirl, directly and indirectly,

by use of means and instrumentalities of interstate commerce and the mails.

(In violation of Title 15, United States Code, Sections 78j (b) and 78ff, and Title 18, United

States Code, Section 2.)

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                                           Count Three


                Conspiracy to Commit Wire Fraud - Everock (18 U.S.C. § 1349)

THE GRAND JURY FURTHER CHARGES THAT:

       74.     Paragraphs 1 through 4, 7 through 9, and 11 through 35 of the Indictment are

incorporated here by reference.

       75.     Beginningon a date unknown to the United States, but at least as early as in or

about September 2008, and continuing through at least in or about September 2010, in the

Eastern District of Virginia and elsewhere, defendants GALLISON, HISKEY, ZANGARA,

MOELLER, and DRESNER, together with their co-conspirators, and others known and

unknown to the Grand Jury, did knowinglyand willfully combine, conspire, confederate and

agree witheach otherand others known and unknown to the Grand Jury to commit certain

offenses againstthe United States, namely, wire fraud, that is, having deviseda scheme and

artifice to defraud and obtainmoney and property from investors in Everock's common stock by

means of materially false and fraudulent pretenses, representations, and promises, to knowingly

and willfiilly use interstate wires for the purpose of executing such scheme andartifice, in

violation of Title 18, United States Code, Section 1343.

                                     Purpose ofthe Conspiracy

       76.     The purpose of the conspiracy was to imjustly enrich the defendants andtheir co-

conspirators, through the sale of securities to the general investing public, byartificially inflating

the market prices of, volume of, and demand for the common stock of Everock.

                               Manner and Means ofthe Conspiracy

        77.    Paragraphs 49 through 60 of the Indictment are incorporated here by reference as

the manner and means of the conspiracy.

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(In violation of Title 18, United States Code, Section 1349.)

                                          Count Four


             Securities Fraud - Everock (15 U.S. C. §§ 78j (b) & 78ff; 18 U.S. C. § 2)

THE GRAND JURY FURTHER CHARGES THAT:

       78.     Paragraphs 1 through 4, 7 through 9,11 through 35, and 49 through 60 of the

Indictment are incorporated here by reference.

       79.     Beginning on a date unknown to the United States, but at least as earlyas in or

about September 2008, and continuing throughat least in or about September 2010, in the

Eastern District of Virginia and elsewhere, the defendants GALLISON, HISKEY, ZANGARA,

MOELLER, and DRESNER, together with their co-conspirators and others known and unknown

to the Grand Jury, did knowingly and willfully use and employ, attempt to use and employ, and

aid and abet in the use and employment of one or moremanipulative and deceptive devices and

contrivances, contrary to Rule lOb-5 of the Rules andRegulations of the United States Securities

and Exchange Commission, Title 17, Codeof Federal Regulations, Section 240.10b-5, by: (a)

employing one or more devices, schemes and artifices to defraud; (b) making one or more untrue

statements of material fact and omitting to state one or more material facts necessary in orderto

make the statements made, in the light of the circumstances in whichthey were made, not

misleading; and (c) engaging in oneor more acts, practices and courses of business which would

operate as a fraud anddeceit upon one or more investors or potential investors in Everock, in

connection withthe purchases and sales of investments in Everock, directly and indirectly, by

use of means and instrumentalities of interstate commerce and the mails.

(In violation of Title 15,United States Code, Sections 78j (b) and 78ff, and Title 18,United

States Code, Section 2.)

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                                           Count Five


                Conspiracy to CommitMoneyLaundering (18 U.S.C. § 1956(h))

THE GRAND JURY FURTHER CHARGES THAT:


       80.     Paragraphs 1 through 67 of the Indictment are incorporated here by reference.

       81.     Beginning on a date unknown to the United States, but at least as early as in or

about 2008, and continuing through at least in or about the date of this Indictment, in the Eastern

District of Virginia and elsewhere, the defendants GALLISON, HISKEY, COLEMAN and

HANDLES, together with others known and unknown to the Grand Jury, did knowingly and

willfully conspire to transport, transmit and transfer a monetary instrument and funds from a

place in the United States to andthrough a place outside the United States andto a place in the

United States from and through a place outside the United States knowing that the monetary

instrument or fimds involved in the transportation, transmission, or transferrepresented the

proceeds of some form of unlawfiil activity and knowing that such transportation, transmission,

or transfer was designed in whole or in partto conceal and disguise the nature, location, source,

ownership and control of the proceeds of the specified unlawful activities, contrary to Title 18,

United States Code, Section 1956(a)(2)(B)(i).

                              Manner and Means ofthe Conspiracy

       82.     Paragraphs 23 through 35 of the Indictment are incorporated here by reference as

the manner and means of the conspiracy.

(In violation of Title 18, United States Code, Section 1956(h).)




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                                       Forfeiture Notice


       Pursuant to Rule 32,2(a), the defendants are hereby notified that, if convicted of either the

conspiracy charge in Count One or Count Three, or the securities fraud charge in Count 2 or

Count 4 of this Indictment, defendants shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461, any

property, real or personal, which constitutes or is derived from proceeds traceable to wire fraud,

in violation of Title 18, United States Code, Section 1343, and securities fraud, in violation of

Title 15, United States Code, Section 78ff, including a sum of money equal to at least $2.9

million in United States currency, representing the amount of proceeds obtained as a result of the

conspiracy charged in Count One, and the securities fraud charged in Count Two, and a sum of

money equal to at least $3.6 million in United States currency, representing the amount of

proceeds obtained as a result of the conspiracy charged in CountThree, and the securities fraud

charged in Count Four, and for which the defendants are jointly and severally liable.

       If convicted of the money laundering conspiracy alleged in Count Five, the defendants

shall forfeit any property, real or personal, involved in the offense, or any property traceable to

such property, pursuant to Title 18, United States Code, Section 982(a).

       Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,

United States Code, Section 2461(c) and by Title 18, United States Code, Section 982(b)(2), the

defendant shall forfeit substitute property, up to the value of the amount described, i.e., $2.9

million in United States currency as to Count One and Count Two, and $3.6 million in United

States currency as to Count Three and Count Four, if, by any act or omission of the defendant,

the $2.9 million in United States currency as to Count One and Count Two, and $3.6 million in

United States currency as to Count Three and Count Four, or any portion thereof, cannot be

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located upon the exercise of due diligence; has beentransferred, soldto, or deposited with a third

party; has been placed beyond thejurisdiction of the Court; has been substantially diminished in

value; or has been commingled with otherproperty which cannot be divided without difficulty.

       Theproperty subject to forfeiture includes, but is not limited to, the property listed in

Attachment A.


(Pursuant to Title 18, United States Code, Sections 981 and 982, and Title 21, United States

Code, Section 853(p), and Title 28, United States Code, Section 2461.)

                                                      A TRUE BILL
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                                                          u^er seal(j?i ^Jlerk's            ^
                                                      FOREPERSON




       DANA J. BOENTE
       UNITED STATES ATTORNEY



 By:
       James P. Gillis
       Zachary Terwilliger
       Assistant United States Attorneys


       ANDREW WEISSMANN
       CHIEF
       FRAUD SECTION, CRIMINAL DIVISION
       UNITED STATES DEPARTMENT OF JUSTICE



By:
       N. Nathan Dimock
       Senior Trial Attorney
       Fraud Section, Criminal Division
       United States Department of Justice




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                                       ATTACHMENT A




Financial             Account Number        Account Name
Institution

Albert Fried &        020-00032             Bastille Advisors Inc.
Company LLC

Albert Fried &        020-00248             Jurojin, Inc.
Company LLC

Alpine Securities     645660349             Rembrandt Capital Corporation
Corporation

Alpine Securities     677015958             Stix Pix, Inc.
Corporation

Alpine Securities     76453355              Tachion Projects Inc. c/o Jens Henriksen
Corporation

Alpine Securities     76433550              Tachion Projects Inc. c/o Jens Henriksen
Corporation

Alpine Securities     707994437             Tachion Projects Inc.
Corporation

America First         7486186               Bastille Advisors, Inc.
Credit Union

America First         7460007486152         Corporate Capital Formation Inc.
Credit Union

America First         7460340068700         Roger G. Coleman Sr.
Credit Union

American First        800101065             Vanilla Sky NV, Inc.
National Bank

American First        800101073             Jurojin, Inc.
National Bank

Apex Clearing         2GJ-13431-17          Tachion Projects Inc.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         2KM-07465-17          Tachion Projects Inc.
Corporation
(formerly Penson
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Financial Services)

Apex Clearing         46708083-12     Tachion Projects Inc.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         4ZC-08778-18    Starburst Innovations LLC
Corporation
(formerly Penson
Financial Services)

Apex Clearing         4ZC-09866-19    Carl H. Kruse
Corporation
(formerly Penson
Financial Services)

Apex Clearing         5AG-0S407-19    Fry Canyon Corporation
Corporation
(formerly Penson
Financial Services)

Apex Clearing         57390445        Bastille Advisors
Corporation
(formerly Penson
Financial Services)

Apex Clearing         57384422        Club Consultants
Corporation
(formerly Penson
Financial Services)

Apex Clearing         12953758        Club Consultants inc.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         81340879        Club Consultants, Inc.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         57384422        Club Consultants, Inc.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         5AG05407        Fry Canyon Corp.
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Corporation
(formerly Penson
Financial Services)

Apex Clearing         32231060/4ZC-07563-19   Sandias Azucaradas, CR S.A.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         32436867/4ZC12617       Vanilla Sky, S.A.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         45003514                Glenwood Marketing, Attn: Therese Zangara
Corporation
(formerly Penson
Financial Services)

Apex Clearing         57397317                The BHI Group Inc., Attn: Frank J. Zangara
Corporation
(formerly Penson
Financial Services)

Apex Clearing         4ZR05439                Glenwood Marketing c/o Therese Zangara
Corporation
(formerly Penson
Financial Services)

Apex Clearing         34095380                Glenwood Marketing Inc.
Corporation
(formerly Penson
Financial Services)

Apex Clearing         34090142                The BHI Group Inc.
Corporation
(formerly Penson
Financial Services)

Bank of America       501009319181            Carmel Business Consultants

Bank of America       483003726050            Digital Edge Marketing LLC

Bank of America       Unknown                 Michael Jay Randies

Bank of America       20411005                Sandias Azucaradas of NV, Inc.

Barclays Bank PLC     21853620101             Carl Kruse
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California Bank &     2280185891      Faith Services, Inc.
Trust

California Bank &     2280588236      Harold Gallison
Trust


California Bank &     2280186191      Valley Shores, Ltd.
Trust

Charles Schwab        8216-8430       Club Consultants Inc.

Citibank NA           42006715785     Harold B. Gallison

Comerica Bank         1894767159      Faith Services, Inc.

E*Trade Securities    60610219        Starburst Innovations LLC
LLC

E*Trade Securities    49086615        Carl Kruse, Jr.
LLC

E*Trade Securities    49086811        Carl Kruse, Jr.
LLC


E*Trade Securities    62544443        Bastille Advisors, Inc.
LLC

E*Trade Securities    60192069        Carl Kruse
LLC


E*Trade Securities    63322461        Jurojin, Inc.
LLC

E*Trade Securities    67256873        LF Technology Group LLC
LLC

EverBank              760078351       Stix Pix, Inc.

First Republic Bank   80000738071     Faith Services, Inc.

J.H. Darbie & Co.     365-02395       Club Consultant's, Inc.

JP Morgan Chase       3080063519      Corporate Capital Formation

JPMorgan Chase        4214457073      Michael Jay Randies
Bank

JPMorgan Chase        989918719       Stix Pix, Inc.
Bank

JPMorgan Chase        825141249       The BHI Group
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Bank

JPMorgan Chase   8850939312           Bastille Advisors, Inc.
Bank

JPMorgan Chase   3162812355           Bayswater, Inc.
Bank

JPMorgan Chase   8314603239           Leonor K. Kruse and Carl H. Kruse
Bank

JPMorgan Chase   860561828            Charles S. Moeller
Bank

JPMorgan Chase   860563097            Charles S. Moeller
Bank

JPMorgan Chase   2949056754           Charles S. Moeller
Bank

JPMorgan Chase   904452877            Club Consultants Inc.
Bank

JPMorgan Chase   824950497            Faith Services, Inc.
Bank

JPMorgan Chase   740370978            Frank Zangara
Bank

JPMorgan Chase   818712259            Glenwood Marketing Inc. dba Keenzo Online
Bank

JPMorgan Chase   818763021            Glenwood Marketing Inc. dba Keenzo Online
Bank

JPMorgan Chase   3923150001           Harold B. Gallison
Bank

JPMorgan Chase   1961907393           Harold B. Gallison
Bank

JPMorgan Chase   4941084313           Jurojin, Inc.
Bank

JPMorgan Chase   4214457073           Michael Jay Randies
Bank

JPMorgan Chase   8850940757           Roger G. Coleman
Bank

JPMorgan Chase   427540037244         Roger G. Coleman
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Bank

JPMorgan Chase       5416578001958080   Roger Coleman
Bank

JPMorgan Chase       3151905749         Sandias Azucaradas of NV, Inc.
Bank

JPMorgan Chase       825143748          Glenwood Marketing Assoc. Inc. c/o FrankZangara
Bank

JPMorgan Chase       791391568          UDF Consulting Inc.
Bank

JPMorgan Chase       4941084850         Valley Shores, Ltd.
Bank

JPMorgan Chase       572518830          Zyrox Mining International Inc.
Bank

JPMorgan Chase       1773612883         Carl Kruse III
Bank

JPMorgan Chase       994295442          Kruho Ventures Corp.
Bank

JPMorgan Chase       532527293          Escape LLC
Bank

Ridge Clearing and   466-02090-18       B.H.I. Group Inc., Attn: Frank Zangara
Outsourcing (BMA
Securities)

Scottsdaie Capital   57390445           Bastille Advisors Inc.
Advisors

Scottsdaie Capital   57384422           Club Consultants Inc.
Advisors

Spencer Edwards      645660349          Rembrandt Capital Corporation

Spencer Edwards      677015958          Stix Pix, Inc.

TD Ameritrade Inc    864493070          Zyrox Mining International Inc.

TD Ameritrade Inc    756310265          Carl H. Kruse Sr.


TD Ameritrade Inc    780010603          Frank Zangara IRA

TD Ameritrade Inc    780584675          Frank Zangara
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TD Ameritrade Inc     754817887           Charles Moeller

TD Ameritrade Inc     757079520           Charles Moeller Rollover IRATD

Track Data            32490641/4ZC16163   Bastille Advisors, Inc.
Securities Corp

Track Data            32529828/4ZC19232   Jurojin, Inc.
Securities Corp

Track Data            4ZC-29354-16RR000   Stix Pix, Inc.
Securities Corp

Track Data            32436867/4ZC12617   Vanilla Sky S.A.
Securities Corp

Wedbush               13514664            Carl Kruse

Wedbush               84125915            Carl Kruse

Wedbush               79902428            Tachion Projects Inc.

Wells Fargo Bank      XXXXXX3609          Certificate Processing International

Wells Fargo Bank      9675306139          Club Consultant's, Inc.

Wells Fargo Bank      1904270814          StIx Pix, Inc.

Wells Fargo Bank      50750010            Jurojin, Inc.

Wells Fargo Bank      3060567214          Valley Shores, Ltd.

Wells Fargo Bank      3217496268          Avatar Consulting

Wells Fargo Bank      1866593609          Certificate Processing International

Wilson-Davis &        449681007836        Club Consultants, inc.
Company

Wilson-Davis &        181641164           Stix Pix, Inc.
Company




International Banks

Credicorp Bank        4020226011          Vanilla Sky S.A.

Credicorp Bank        4020226027          Graytrader.com S.A.
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FPB Bank (Panama)   8901117250              Rembrandt Capital Corporation


HSBC Bank           100026989               Sandias Azucaradas
(Panama) S.A.

Saxo Bank           60366026                Rembrandt Capital Corporation


Rietumu Bank        LV16RTMB0000619806127   Vanilla SkySA


Rietumu Bank        LV92RTMB0000619806117   Jurojin Inc.
